eee Case 2:24-cv-00782-cr Donte RERe vettereg6gy syed -PPpage 1 of 3

| do not have the investigative power of an entity like FNRA or the SEC. What | have discovered is K&L Gates LLP has
many official correspondences with the SEC as K & L Gates appears to represent Torchlight Energy. | am operating under
the presumption that the application for cusip 59134N203 is valid, authentic, and accurate.

Your investigation into the accuracy of the company information provided to cusip.com in the application for the Series
Preferred A (cusip 59134N203) is critical to determine any course of action going forward.

| have concern that there has been an exploitation of the process as $100millions if not $billions are involved. From
outward appearances, the tradability of $MMTLP is linked to the trading action of $MMAT, almost like a currency
exchange. From outward appearances, the price of $MMAT has been suppressed so that a conversion from $MMTLP
shares to $MMAT shares could be made profitably or reduce/eliminate exposure from a short position held prior to the
merger. There is strong evidence that the company Torchlight Energy was heavily shorted prior to the merger per SEC
FTD reports and public information. The special dividend Series Preferred A represents the value of Oil and Gas assets to
be sold or spun-off in its own company (this is happening as a S1A was submitted on September 6th 2022). Those assets
represent 3.2 billion BOE: at market value - between $8.5billion and $16billion to shareholders of the preferred dividend
shareholders, or responsibility relative to those holding that are short.

For your convenience, | have provided you Meta Material's url: https://metamaterial.com/

In my complaint | provided information that the date of application for cusip 59134N203 happened on July 6 2021
according to cusip.com. And | provided information that the company Meta Material has no knowledge of the symbol
$MMTLP that became associated with cusip 59134N203 according to Meta Material's Q4 transcript.

Also in my complaint, | demonstrated that the information associated with the symbol $MMTLP is not and has never been
accurate, but of information of the Torchlight Energy that was or in process of dissolution as the application happened
after the merger. From my understanding, SEC RULE 15C2-11 should have applied in any application.

As an investor, I'm trying to uncover the circumstances underlying what entity and what under what authority caused the
symbol $MMTLP to come into existence, and how it became tradable on the OTC.

Again, | appreciate you reaching out,

Cordially, Appendix K

[Quoted text hidden}

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OTC Symbol Management <otcsymbols@finra.org> Thu, Sep 29, 2022 at 12:13 PM
Symbol Management <otcsymbols@finra.org>

We have zero jurisdiction over CUSIP and any of the requests they receive to review when or when not to issue a
CUSIP.

The symbol MMTLP was set up for trade reporting purposes — one of our member firms had a trade to report and per
our rules in order to report the trade they need a symbol — See 6622 - Transaction Reporting

Is there some kind of restrictive legend on preferred share that should prevent them from being publicly tradeable?

Why not request the company reach out to CUSIP to have them remove the CUSIP? Have you engaged the company
about this?

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7/10/24, 4:09 PM Case 2:24-cv-00782-cr Dome RERE Vettereneq G27 ByelPPage 2 of 3
Jessica Roberson

FINRA Market Operations
9509 Key West Ave] Rockville, MD 20850
866 776 0800 Opt. 1

FING.

From:

Sent: Thursday, September 29, 2022 11:10 AM

To: OTC Symbol Management <otcsymbols@finra.org>
Subject: Re: RE: Matter 20220761627 (MMTLP)

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Telielaagtcitielar

Hello,
Thank you for reaching out for more information.

| have no affiliation with the Canadian company Meta Material.

aegis

| am an investor that believes caught in a sophisticated strategy performed by an unknown third party for purposes
unknown. | welcome speaking to someone or writing in more detail of information that | have aggregated. | have also
submitted a whistleblower complaint to the SEC, and a second followup with the same information | provided FNRA, but
again | am only an investor.

| want to say that depending upon the information available to you as OTC symbol manager, | can see how due process
and information is isolated from material information. For example, you asked me about my relationship with the company.
| presume you mean the company Meta Material. But as | understand it, and as it is in the public record, the company
Meta Material has no knowledge of the symbol $MMTLP.

No one apparently knows who made $MMTLP tradable or associated the symbol with cusip 59134N203.

| primarily acquired shares of Series Preferred A (cusip 59134N203 applied for by a law firm K & L Gates LLP after the
merger on July 6th that became the OTC tradable $MMTLP prior to Oct 8th 2022) from a reverse merger that the
company performed with Nasdaq listed Torchlight Energy on June 26, 2021 per an Agreement approved by the SEC.
Cusip 59134N203 represents the value of Oil and Gas assets held by TorchLight Energy to be distributed as a special
dividend to shareholders of record (1 am one of those) or spun out into its own company.

| do not have the investigative power of an entity like FNRA or the SEC. What I have discovered is K&L Gates LLP has
many official correspondences with the SEC as K & L Gates appears to represent Torchlight Energy. | am operating under

https://mail.google.com/mail/u/0/7ik=23813b1375&view=pt&search=all&permthid=thread-f: 174530560697 3045287 &simpl=msg-f:1745305606973045... 3/71

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dividend cusip 59134N203 where no market was expected to exist?

It seems to me that the FINRA member that executed the trade ought to have applied

for there own cusip # to anchor the trade to an underlying component. This action by a
private company, apparently in accordance with FINRA rules, has impacted the value
of an equity of a publicly traded security. Clearly, there is a lack of transparency and

_ the process suspect.

Cordially,

On Thu, Sep 29, 2022 at 2:30 PM iii ti aeesemenmt,

wrote:

Thank you Jessica for your response. | appreciate it so much.

As | understand it from what you wrote, a FNRA member had a trade to report and
that caused the symbol $MMTLP to come into existence. Not the company Meta
Material. Than you for that.

And here is the rub, the associated company information associated with the symbol
is materially false. For example, John Brda is not and has never been the CEO of

_ Meta Material. The company contact information associated with the symbol

~ $MMTLP was not valid when the symbol was issued when FNRA as caused by a
trade being reported by a FNRA member.

_ Not to complicate matters, but related in some fashion | do not understand involves

_ the trading of derivatives. According to theocc, $mmtlp is a component of $MMAT1,
adjusted from derivative $TRCH1 on July 28, 2021. | have attached three memos by
theocc.com [theocc.com] for your reference. These memos speak of options and
trading between brokers prior to $MMTLP coming into existence.

| have shared my findings with the company Meta Material Inc.

| mentioned that Meta Material has no knowledge of the symbol. $MMTLP. Here is
the quote for the Q4 transcript by CEO Ken Rice. Quote from Meta Material CEO
Ken Rice Q4 Transcript: "The other part of this question that came up over and
over and over again in this database (questions submitted by investors) was
that we (investors) want to know what about MMTLP was the ticker that was

_ established (by unknown entity) related to the Series A preferred stock.
Unfortunately, Meta can't comment on trading activity or other matters related
to that ticker symbol, since it's not a company sponsored symbol or supported
trading symbol. " (bottom of pg 16 of transcript)

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